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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SUSAN J. MURCHEK,                     )
                                      )
                                      )    CIVIL ACTION NO. ___________
     PLAINTIFF,                       )
                                      )
             vs.                      )    JURY TRIAL DEMANDED
                                      )
SBA COMMUNICATIONS                    )
CORPORATION t/d/b/a                   )
SBA NETWORK SERVICES                  )
                                      )
     DEFENDANT.                       )


                                    COMPLAINT

     AND NOW COMES plaintiff, Susan J.          Murchek, by and through

her attorneys, Lawrence D. Kerr, Esq., Claire E. Throckmorton,

Esq., and Tremba, Kinney, Greiner & Kerr, LLC, and files the

within complaint averring as follows:


                               I.     INTRODUCTION

     1.      This action is brought under the Americans with

Disabilities Act of 1990, 42 U.S.C. §§ 12111 et seq. (“ADA”).

Plaintiff claims the defendant fired her because of her marriage

to a disabled person.


                         II.   JURISDICTION AND VENUE

     2.      This court has subject matter jurisdiction under 28

U.S.C. §§ 1331 and 1367.
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     3.      This court has federal question jurisdiction because

the plaintiff’s claims under the ADA arise from federal

statutes. 28 U.S.C. § 1331.

     4.      This court has personal jurisdiction over the

defendants because their contacts with Pennsylvania and this

federal judicial district meet the requirements necessary to

satisfy the notions of fair play and justice established in

International Shoe Co. v. Washington, 326 U.S. 310 (1945).

     5.      Venue is proper under 28 U.S.C. § 1391 because

defendants regularly conduct business here and the plaintiff’s

claims arise from events which occurred in this judicial

district.

     6.      The plaintiff has exhausted her federal administrative

remedies with the Equal Employment Opportunity Commission

(“EEOC”) and has received a Notice of Right to Sue.             This suit

is filed within 90 days of her receipt of that notice.

     7.      This Court has supplemental jurisdiction over the

plaintiff’s claim under the Pennsylvania Human Relations Act

(“PHRA”). 28 U.S.C. § 1367.

     8.      The plaintiff dual-filed her EEOC charge with the

Pennsylvania Human Relations Commission.           More than one year has

elapsed since her filing, thus she has exhausted her

administrative remedies under the PHRA.
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                                III. PARTIES

     9.      The previous paragraphs are incorporated.

   10.       Plaintiff Susan J. Murchek (“Mrs. Murchek”) resides with

her husband at 528 Monticello Drive, Delmont, Westmoreland County,

Pennsylvania.

   11.       Defendant SBA Communications Corporation t/d/b/a SBA

Network Services (“collectively referred to as “SBA”), is a

Florida corporation(s) with an office and principal place of

business at 8051 Congress Avenue, Boca Raton, Florida, and a

local office at 470 Davidson Road, Pittsburgh, Pennsylvania.


                             IV. FACTUAL ALLEGATIONS

   12.       The previous paragraphs are incorporated.

   13.       Mrs. Murchek was born on October 20, 1958, in

Pittsburgh, Pennsylvania.

   14.       On April 13, 2001, Mrs. Murchek married Denis J.

Murchek.

   15.       Mr. Murchek is a recovering addict.         On February 24,

2015, he became clean and sober and has remained so since.

   16.       SBA Communications Corporation was founded in 1989

and is headquartered in Boca Raton, Florida.           SBA owns and

operates wireless infrastructure, including small cells,

indoor/outdoor distributed antenna systems, and traditional cell

sites that support antennas used for wireless communication by

mobile carriers and wireless broadband providers in the United
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States and its territories, as well as in Canada, Central

America, and South America.        SBA operates in two segments: site

leasing and site development.         SBA leases antenna space to

wireless service providers on towers that it owns or operates,

and manages rooftop and tower sites for property owners under

various contractual arrangements.         As of December 31, 2013, SBA

owned 20,079 towers.       SBA also manages or leases approximately

4,800 actual or potential towers.         SBA provides various site

development services comprising of network pre-design, site

audits, identification of potential locations for towers and

antennas, support in buying or leasing of the location,

assistance in obtaining zoning approvals and permits, tower

structure construction, antenna installation, and radio

equipment installation, commissioning, and maintenance.

      17. On June 5, 2006, SBA hired Mrs. Murchek as an

expediter.     Her customers were carriers such as Verizon, T-

Mobile, Sprint, etc.       When SBA leased tower space to customers,

SBA constructed/installed equipment on cell towers.             Mrs.

Murchek handled purchase orders, invoicing, etc., relating to

repairs of existing towers and new construction.

   18.       Mrs. Murchek was later promoted to Project Manager,

then Project Controls Manager.         She worked at SBA’s Pittsburgh

office.

   19.       For 10 years, SBA gave Mrs. Murchek positive annual

performance reviews.
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   20.      In September, 2015, Matt Fusco became Mrs. Murchek’s

immediate supervisor.      He is a former police officer.

   21.      From March to November 2015, Mr. Murchek assisted a

state drug task force as an informant.         This activity was wholly

unrelated to SBA’s interests and operations.

   22.      During the latter part of September 2015, Mrs. Murchek

learned that Mr. Fusco was conducting his own, “personal

investigation” into Mr. Murchek’s addiction background.            Mr.

Fusco learned that Mr. Murchek was a recovering addict.

   23.      During the last week of September, 2015, Mrs. Murchek

confronted Mr. Fusco at work concerning his investigation of her

husband.    Mr. Fucsco was surprised; he said, “I was just calling

the police to see if there was anything I could do to help.”

She told Mr. Fusco that her husband had been clean and sober for

seven months.

   24.      Approximately one week later, Mr. Fusco called Mrs.

Murchek into his office.       He introduced her to an ex-police

officer friend who he had just hired.         At that time, Mr. Fusco

and his friend were on a conference call with SBA’s HR

Generalist who was calling from SBA’s main office in Florida.

SBA’s HR Generalist told Mrs. Murchek, “We’ve decided we no

longer need you.”

   25.      SBA mailed Mrs. Murchek a termination letter dated

October 1, 2015, which is attached as Exhibit A.           The letter

begins, “According to your conversation with Matt Fusco, please
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accept this letter as notice of the termination of your

employment with SBA Network Services, LLC, effective October 1,

2015.”

   26.      Mrs. Murchek was terminated because she was married to

a recovering addict who is a qualified individual with a

disability under the ADA.       In the alternative, Mrs. Murchek

alleges that SBA regarded Mr. Murchek as disabled.


                 V. COUNT I — PLAINTIFF VS. ALL DEFENDANTS
                          ADA – WRONGUFL DISCHARGE

   27.      The previous paragraphs are incorporated.

   28.      At all times relevant to this complaint, SBA was Mrs.

Murchek’s “employer” under the ADA.

   29.      At all times relevant to this complaint, Mrs. Murchek

was married to and thus associated with Mr. Murchek who was a

qualified person with a disability and/or regarded as disabled

under the ADA.

   30.      On or about October 1, 2015, SBA violated

the ADA by wrongfully discharging Mrs. Murchek because she was

married to a qualified person with a disability, or in the

alternative, was discharged because she was married to a person

who SBA perceived as being disabled.

   31.      As a result of the SBA’s unlawful actions, Mrs.

Murchek suffered damages in the form of lost wages and benefits,

loss of future earnings and earnings potential, emotional

distress, embarrassment, inconvenience, loss of life’s pleasure,
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loss of reputation, and other compensatory economic and non-

economic damages recoverable under the ADA.

   32.      SBA’s actions were intentional, outrageous, and

willful so as to justify an award of punitive damages.

     WHEREFORE, Mrs. Murchek requests judgment in her favor

and against the defendants in excess of $75,000, plus attorney

fees, costs, interest, punitive damages, and equitable relief as

determined by this Court.


                VI. COUNT II — PLAINTIFF VS. ALL DEFENDANTS
                         PHRA – WRONGUFL DISCHARGE

    33.     The previous paragraphs are incorporated.

    34.     The Pennsylvania Supreme Court has held that the PHRA

is to be interpreted coextensively with the ADA.

    35.     At all times relevant to this complaint, SBA was Mrs.

Murchek’s “employer” under the PHRA.

    36.     At all times relevant to this complaint, Mrs. Murchek

was married to and thus associated with her husband who was a

qualified person with a disability and/or regarded as disabled

as defined by the PHRA.

    37.     On or about October 1, 2015, SBA violated the PHRA by

wrongfully discharging Mrs. Murchek because she was married to a

qualified person with a disability, or in the alternative, was

discharged because she was married to a person who SBA perceived

as being disabled.
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      38. As a result of SBA’s unlawful actions, Mrs.

Murchek suffered damages in the form of lost wages and benefits,

loss of future earnings and earnings potential, emotional

distress, embarrassment, inconvenience, loss of life’s pleasure,

loss of reputation, and other compensatory economic and non-

economic damages recoverable under the PHRA.

     WHEREFORE, Mrs. Murchek requests judgment in her favor

and against the defendants in excess of $75,000, plus attorney

fees, costs, interest, and equitable relief as determined by

this Court.



                                  Respectfully submitted,


                                 TREMBA, KINNEY, GREINER & KERR, LLC

Date: ___6/9/2017___        By: /s/ Lawrence D. Kerr, Esq.
                                Lawrence D. Kerr, Esq.
                                PA I.D. #58635

                                  /s/ Claire E. Throckmorton, Esq.
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                                  PA I.D. #321125

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